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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF KENTUCKY
                         LEXINGTON DIVISION

  RICHARD BARTON, et al.,                 :
                                          :
                                          :
              Plaintiffs,
                                          :
                                          :
       v.                                 :
                                          :        No. 5:24-cv-00249-DCR
  U.S. DEPARTMENT OF LABOR, et            :
  al.,                                    :
                                          :
                                          :
              Defendants.                 :
                                          :

                MOTION TO ADMIT COUNSEL PRO HAC VICE


      Pursuant to Local Rule 83.2, Intervenor State of Ohio requests that T. Elliot

Gaiser be admitted pro hac vice for the purpose of representing Ohio in the above-

referenced action. In support of this application, a declaration from T. Elliot Gaiser

and a certificate of good standing are attached.

                                              Respectfully submitted,

                                              DAVE YOST
                                              Ohio Attorney General

                                              /s/ T. Elliot Gaiser
                                              T. ELLIOT GAISER
                                               (pro hac vice pending)
                                              Solicitor General
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